    Case 1-15-44708-nhl   Doc 20   Filed 11/27/15   Entered 11/27/15 22:03:50




UNITED STATES BANKRUPTCY COURT                             bl8180
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -
In Re
                                            Case No. 15-44708-nhl
           NAJiB NAZAMY,
                                            CHAPTER 13 PLAN
                      Debtor
- - - - - - - - - - - - - - - - - -

     1.   The future earnings of the debtor are submitted to the
supervision and control of the trustee and the debtor shall pay to
the trustee for a total period of 60 months the following:

                 Commencing November 15, 2015 through and including October 15,
                 2020, the sum of $200.00 monthly for a period of 60 months.

     2.   From the payments so received, the trustee shall make
disbursements as follows:

          (a) Full payment in deferred cash payments of all claims
entitled to priority under 11 U.S.C. 507.

           (b)   Barton P. Levine, Esq. to be paid $2,500.

           (c) Holders of allowed secured claims shall retain the
           liens securing such claims and shall be paid as follows:

                 ALL POST-PETITION PAYMENTS, INCLUDING BUT NOT LIMITED TO,
                 MORTGAGE PAYMENTS, VEHICLE PAYMENTS, REAL ESTATE TAXES AND
                 INCOME TAXES, TO BE MADE OUTSIDE THE PLAN BY THE DEBTOR.

                 Each secured creditor (i.e. mortgage, vehicle or other
                 secured), as listed in the Debtor's schedules, shall be paid
                 through this plan as follows:

                 Debtor intends to register for the Bankruptcy Court’s Loss
                 Mitigation Program in connection with the Debtor’s first
                 mortgage obligation covering premises 154-39 28th Avenue,
                 Flushing, New York 11354, which mortgage is held by OneWest.
                 During the pendency of the Loss Mitigation Program, Debtor
                 shall pay the existing post-petition mortgage payments. Debtor
                 is seeking to have the existing first mortgage loan modified,
                 so as to add the loan arrears to the principal balance of the
                 loan and obtain a reduced monthly loan payment.

                 The Claim of TD Bank, which holds a home equity loan, shall be
                 avoided and treated as an unsecured creditor in accordance
                 with its Claim.

           (d) Subsequent and/or concurrently with distribution to
           secured creditors, dividends to unsecured creditors whose
           claims are duly allowed as follows: PRO RATA distribution
           to all timely filed proofs of claim of not less than 0%.
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     3.   All lease agreements             are      hereby    assumed,     unless
specifically rejected as follows

                 None

      4.   During the pendency of this case, if unsecured creditors
are paid, pursuant to paragraph 2(d), less than one hundred percent
(100%), the debtor shall provide the Trustee with signed copies of
filed federal and state tax returns for each year no later than May
15th of the year following the tax period. Indicated tax refunds are
to be paid to the Trustee upon receipt; however, no later than June
15th of the year in which the tax returns are filed.

     Title to the debtor(s) property shall revest in the debtor
upon completion of the plan or dismissal of the case, unless
otherwise provided in the Order confirming this plan. Throughout
the term of this plan, the debtor(s) will not incur post-petition
debt over $1,500 without the written consent of the Chapter 13
Trustee or the Court.

Dated: November 10, 2015
                                                    s/Najib Nazamy
                                                     Najib Nazamy

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